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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CITADEL SECURITIES AMERICAS LLC,
CITADEL SECURITIES AMERICAS SERVICES LLC,
CITADEL SECURITIES (EUROPE) LIMITED, and
CITADEL MANAGEMENT (EUROPE) II LIMITED,                         Case No. 23 Civ. 5222 (GHW)

                                Plaintiffs,                     AMENDED COMPLAINT AND
                                                                JURY DEMAND
                       v.

PORTOFINO TECHNOLOGIES AG,
PORTOFINO TECHNOLOGIES USA, INC.,
JEAN CANZONERI, and JOHN DOES 1-10,

                                Defendants.


       Plaintiffs Citadel Securities Americas LLC, Citadel Securities Americas Services LLC,

Citadel Securities (Europe) Limited, and Citadel Management (Europe) II Limited (collectively,

“Citadel Securities”), by and through their undersigned attorneys, allege as follows:

                                         INTRODUCTION

       1.      On September 15, 2022, two former Citadel Securities employees launched a media

blitz to promote Portofino, a new high-frequency trading firm that they had co-founded.

Portofino—named after a Ferrari renowned for its speed—was, for the first time, emerging from

“stealth mode.” Its founders explained to reporters that although Portofino was just now making

itself public, the firm had been operating for the last year in secret and had already traded billions

of dollars’ worth of assets. Along with boasting about the firm’s success from its “stealth” trading,

Portofino’s founders touted their own and other recently recruited employees’ experience at

Citadel Securities and other high-frequency trading firms. They told reporters that, though

Portofino was headquartered in Switzerland, its focus included growing its New York office and

increasing its U.S. presence.



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         2.         What Portofino failed to disclose, however, was that in order to build and launch

the company, its founders—Leonard Lancia and Alex Casimo—had engaged in a brazen scheme

to steal Citadel Securities’ trade secrets, lie to their Citadel Securities colleagues, and raid the ranks

of Citadel Securities’ employees. Although Portofino’s founders took steps to conceal their deceit,

including communicating primarily off Citadel Securities’ networks and telling bold-faced lies to

their colleagues about their activities and intentions, Citadel Securities now knows that Portofino

was built by two of its employees while they were on Citadel Securities’ clock in an effort to use

its confidential information and resources to benefit Portofino.

         3.         Citadel Securities’ investigation has revealed that by September 2020, nearly six

months before notifying Citadel Securities of their intent to resign, Portofino’s founders were

already deep into their efforts to build and raise capital for their new company.                                  In a

September 28, 2020 email to a partner at the early-stage investment firm 7percent Ventures Ltd.
                1
(“7percent”), Casimo thanked the 7percent partner for his “guidance” regarding Portofino’s

“initial funding requirements,” and offered to introduce his “co-founder” for a more “technical”

conversation. Specifically, Casimo suggested that the 7percent partner and Lancia could have “a

very good conversation on e.g. latency considerations for HFT trading”—information that both of

Portofino’s founders knew was highly confidential and proprietary to Citadel Securities.




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  7percent is a self-proclaimed “entrepreneur led, network-driven, trans-Atlantic early stage fund” that “invest[s] early
in technology which is transformative and can monopolize a big market.” 7percent Ventures, LinkedIn,
https://www.linkedin.com/company/7pcventures/ (last visited May 16, 2023).


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       4.      Following multiple communications between the Portofino founders and the

partner at 7percent, and ahead of one of their meetings in October 2020, Casimo sent the 7percent

partner a “[p]itch document” that summarized Portofino’s early efforts to sell itself to potential

investors. That document stated explicitly that Portofino’s founders were working to launch a

“Crypto-Currency HFT Market Maker.” Significantly, it touted the Portofino founders’ specific

roles and experience at Citadel Securities as precisely why Portofino would be able to successfully

set up this new opportunity in the marketplace:




       5.      The pitch document was also explicit about the market opportunities that Portofino

would exploit once in operation, noting that “[t]here is a growing appetite from Professional &

Retail investment [sic] in cryptocurrency assets,” and that “[e]nd customers will require market



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makers in order to source liquidity efficiently.” In fact, it boasted that “a successful market making

team operating at scale can generate $2.5bn / annum,” and that “[f]or market makers with the right

skill-set, these revenues can be achieved rapidly.”

        6.     By the time Portofino’s founders were soliciting 7percent as an investor in October

2020, they had—for some time—been hard at work executing on their scheme to launch Portofino.

For example, in emails with the 7percent partner in mid-October 2020—months before Portofino’s

founders resigned from their positions at Citadel Securities—Casimo responded to a question

about when he and Lancia would be free to “focus on” Portofino by assuring the 7percent partner

that “we have (and are) putting in a LOT of focus into this project now.” These communications

further reflect that the 7percent partner was impressed that Portofino had “the right founding team

experience” and asked questions about funding. In response, the Portofino founders confirmed

that in “[f]ull disclosure, we are actively discussing this with a few VCs [venture capital firms]

that have shown interest,” and stated that “[i]ndicatively February 2021 would be our official

start date.”

        7.     Moreover, Portofino’s founders left no doubt about how they intended to use and

were using Citadel Securities’ trade secrets to benefit Portofino. In a pitch deck sent to 7percent

in October 2020, the founders boasted that Portofino’s objective was to “[r]eplicate the most

successful trading business model in traditional financial markets in crypto-currency markets.” In

other words, Portofino intended to use Citadel Securities’ trade secrets to “replicate”

Citadel Securities’ business.




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       8.      In that pitch deck, they also stated that Portofino had built—while its founders still

had 24/7 access to Citadel Securities’ systems and proprietary strategies, code, algorithms and all

the resources of its market making and HFT businesses—an “MVP HFT market making model”

and a “[b]eta version of ‘rebate collection’ strategy.” The pitch deck also noted that “[t]he

founding team are senior leaders at the world’s largest HFT market maker,” and that “[b]oth have

a track record of building businesses, and have a deep understanding of how HFT businesses

operate ‘front to back.’”

       9.      Despite the founders’ best efforts, on information and belief, 7percent did not invest

in Portofino. But Portofino was not deterred. It continued to covertly court investors and, by

January 2021, had secured seed-funding from Jean Canzoneri, an entrepreneur, investor, and

“business angel.” In January 2021, Portofino’s founders still worked for Citadel Securities.

Portofino’s founders did not disclose Canzoneri’s investment (as they were obligated to), and




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                                            2
instead continued to operate secretly.           And in February 2021, the 7percent partner introduced

Casimo to another crypto-focused investment firm, Greenfield Capital:




        10.      At the time, Portofino’s founders were exploiting their Citadel Securities

experience in an effort to raise capital for Portofino. By design, it would have been readily

apparent to any investor or potential investor that Portofino’s founders were employed by Citadel

Securities—even if one of them did not slip up and send an email from their Citadel Securities

account, as they did with 7percent. Indeed, the Portofino pitch documents said so: “[t]he founding

team are senior leaders at the world’s largest HFT market maker” (emphasis added). Casimo is

listed as “COO … at the world’s largest HFT market maker” (emphasis added), a description that

would be clear to anyone in the industry as a reference to Citadel Securities.                     Moreover,

Portofino’s founders each have LinkedIn accounts that identify their roles as Citadel Securities

employees and, on information and belief, they both had public profiles at the time they were



2
  Until as recently as mid-February 2023, Canzoneri advertised on LinkedIn that he had been a seed investor with
Portofino since January 2020. Whether January 2020 or January 2021, that investment was made while Portofino’s
founders were still Citadel Securities employees.


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approaching potential investors. Indeed, Casimo connected with the 7percent partner on October

25, 2020 through his LinkedIn account. In addition, Casimo sent at least one email about Portofino

to the 7percent partner from his Citadel Securities account.

       11.     Given Portofino’s clear, intentional efforts to make its potential investors aware of

its founders’ ties to Citadel Securities, these same potential investors would have known—or at a

minimum, should have known, as any sophisticated investor would—that the founders were

subject to industry-standard fiduciary and contractual obligations regarding confidentiality and

proprietary information as Citadel Securities employees.

       12.     In fact, it was not until March 2021 that Portofino’s founders resigned, within days

of each other, from Citadel Securities. When they left, they took with them a host of valuable

trade secrets owned and developed at great cost by Citadel Securities. The stolen trade secrets

included Citadel Securities’ research methodology; its bespoke set of trading techniques and

technologies; its confidential and proprietary asset-neutral trading strategies; its testing and

validating simulations; and its business plans and business strategies for high-frequency trading

across asset classes, including cryptocurrency.

       13.     It is also clear that while Portofino’s founders were bragging about Portofino in

private to potential investors, they were openly lying to their Citadel Securities colleagues about

their plans. In his exit interview, Lancia told Citadel Securities unequivocally that he was not

leaving his job for a new role. He denied outright having any offers of employment and purported

to still be thinking about whether to stay in finance. All of this was a lie. Casimo gave similar

false answers in his exit interview, conducted a few days later. He told the interviewer that he did

not have a new job, and he complained about Citadel Securities’ non-compete policies.

       14.     These lies, viewed in retrospect, were clear attempts to prevent Citadel Securities

from learning the truth, which was that Portofino’s founders—while employed and generously


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compensated by Citadel Securities—had conceived of, developed, and originated a competitor

company using Citadel Securities’ trade secrets and other confidential information. Portofino’s

founders understood that, under the terms of their employment agreements, Portofino itself was

“work product” that rightfully belonged to Citadel Securities, and they were determined to prevent

Citadel Securities from discovering this fact.

       15.     Portofino registered its website on March 13, 2021, the day after Lancia’s exit

interview. It incorporated on April 27, 2021. It hired employees. It continued to solicit tens of

millions of dollars from investors. It began raising debt financing from BlockFi, Celsius Network,

and Maven 11. And it secretly used Citadel Securities’ commercially valuable trade secrets and

confidential information to sell itself and develop its competing business.

       16.     Over the next year, Portofino continued its deceptive conduct, even going so far as

to attempt to raid Citadel Securities of its employees, including Vincent Prieur, Citadel Securities’

New York-based “aggregator of all things crypto,” in an effort to capitalize on his knowledge of

Citadel Securities’ trade secrets and confidential business plans. In December 2021, the company

incorporated a U.S. arm in Delaware. And up until the big reveal in September 2022, Portofino—

as it bragged to reporters—operated in “stealth mode,” all the while using Citadel Securities’ trade

secrets to “replicate” and compete with Citadel Securities’ business.

       17.     This is an action for misappropriation of trade secrets and confidential information,

tortious interference, unfair competition, and unjust enrichment arising from the secret

development and operation of Defendants Portofino Technologies AG and Portofino Technologies

USA, Inc. (collectively, “Portofino”)—a high-frequency trading business that touts itself as

operating like Citadel Securities, but focusing on a single asset class: cryptocurrency (“crypto”)—

as well as the aiding and abetting of Portofino’s misconduct by its early investors, Jean Canzoneri

and John Does 1-10 (collectively, the “Investor Defendants”).


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                                                  PARTIES

        18.      Plaintiff Citadel Securities Americas LLC is a Delaware limited liability company

with its headquarters and principal place of business in Miami, Florida.

        19.      Plaintiff Citadel Securities Americas Services LLC is a Delaware limited liability

company with its headquarters and principal place of business in Miami, Florida.

        20.      Plaintiff Citadel Securities (Europe) Limited is a private limited company

incorporated and domiciled in the United Kingdom, with its principal place of business in London.

Citadel Securities (Europe) Limited is owned by its sole shareholder, CSHC Europe LLC, a

Delaware limited liability company.

        21.      Plaintiff Citadel Management (Europe) II Limited is a private limited company

incorporated and domiciled in the United Kingdom, with its principal place of business in London.

Citadel Management (Europe) II Limited is owned by its sole shareholder, Citadel Hedge Fund

Holdings II LP, a Delaware limited partnership.

        22.      Defendant Portofino Technologies AG is a Swiss corporation registered at

Gotthardstrasse 3, 6300 Zug, Switzerland that holds itself out as having offices in Zug, London,

New York, Amsterdam, and Singapore. 3

        23.      Defendant Portofino Technologies USA, Inc. is a Delaware corporation.

        24.      Defendant Jean Canzoneri is an early-stage investor in Portofino who, on

information and belief, is domiciled in Milan, Italy with a place of business in Paris, France, as

well as New York, New York. On information and belief, Canzoneri is a French citizen.




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  See, e.g., Portofino Technologies, LinkedIn, https://www.linkedin.com/company/portofino-technologies/about (last
visited May 16, 2023) (listing Portofino Technologies as maintaining offices in Zug, New York, London, Amsterdam,
and Singapore).


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       25.      Defendants John Does 1-10 (the “Doe Investor Defendants”) are, on information

and belief, additional Investor Defendants who provided early-stage funding to Portofino. The

true names, whether individual, corporate, or otherwise, of the Doe Investor Defendants, are

currently unknown to Citadel Securities, who therefore sues the Doe Investor Defendants by

fictitious names.

       26.      Based on its investigative efforts to date, Citadel Securities has identified

Defendant Canzoneri as one of the Investor Defendants who aided and abetted Portofino’s

misconduct. While Citadel Securities has been unable to learn the identities of any of the Doe

Investor Defendants to date, Citadel Securities expects to learn, through discovery obtained from

Portofino and others, their names and roles in the misconduct alleged herein, which information

will allow Citadel Securities to amend its Complaint to name the Doe Investor Defendants by their

actual names.

                                 JURISDICTION AND VENUE

       27.      Pursuant to 28 U.S.C. § 1331, this Court has subject matter jurisdiction over Citadel

Securities’ federal law claims brought under the Defend Trade Secrets Act, 18 U.S.C. § 1836.

       28.      This Court has supplemental subject matter jurisdiction over Citadel Securities’

state law claims pursuant to 28 U.S.C. § 1367 because the state law claims are related to Citadel

Securities’ federal law claims under the Defend Trade Secrets Act and are part of the same case or

controversy under Article III of the United States Constitution.

       29.      As the law of the forum where this action is brought, New York law governs

whether this Court has personal jurisdiction over Defendants.

       30.      Portofino Technologies USA, Inc. is an alter ego of Portofino Technologies AG,

and the two entities are treated as one for jurisdictional purposes. See Transfield ER Cape Ltd. v.

Industrial Carriers, Inc., 571 F.3d 221, 224 (2d Cir. 2009). Specifically, Portofino Technologies


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AG and Portofino Technologies USA, Inc. share common owners who operate the collective

Portofino entities as a single economic unit. Portofino Technologies USA, Inc. is financially

dependent on these common owners and its corporate form is disregarded such that it primarily

transacts the business of Portofino Technologies AG. Portofino Technologies USA, Inc. exhibits

no corporate formalities that would indicate it is anything other than an alter ego of Portofino

Technologies AG.

       31.     Pursuant to New York’s long-arm statute, CPLR 302(a)(1), this Court has personal

jurisdiction over both Portofino entities, which publicly claim to have a New York office, have

posted job openings and recruited for multiple roles based in New York, have successfully solicited

funding from venture capital investment firms based in New York, and have, on information and

belief, New York-based clients.

       32.     This Court also has personal jurisdiction over the Portofino entities pursuant to

CPLR 302(a)(2) because this action arises in part out of Portofino’s tortious conduct within New

York. First, as set forth in detail below, Portofino has solicited New York-based employees of

Citadel Securities, tortiously interfering with their employment agreements by inducing some of

them to leave Citadel Securities and instead secretly become employees of Portofino, while the

solicited employees were being well compensated by Citadel Securities to sit out from competitive

employment and to notify Citadel Securities promptly if they took a new opportunity, resulting in

harm to Citadel Securities. Second, through its poaching of Citadel Securities’ New York-based

employees and by other means described below, Portofino has misappropriated from Citadel

Securities’ New York, U.S., and global operations confidential and proprietary trade secrets

relating to Citadel Securities’ research methodology used to develop and deploy its market making

and high-frequency trading strategies using algorithmic, systematic, and automated trading




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systems, as well as confidential information about Citadel Securities’ business strategies and

planning, including in the crypto space, to Citadel Securities’ significant detriment.

       33.     Personal jurisdiction over the Portofino entities is also proper pursuant to CPLR

302(a)(3) because Portofino’s tortious acts committed outside of New York have caused injury to

Citadel Securities in New York for the reasons cited above.

       34.     This Court has personal jurisdiction over Canzoneri and any non-domiciliary Doe

Investor Defendants pursuant to CPLR 302(a)(3) because Canzoneri and the Doe Investor

Defendants committed tortious acts outside of New York that caused injury to Citadel Securities

in New York. Specifically, Canzoneri and the Doe Investor Defendants aided and abetted the

misconduct through which Portofino misappropriated Citadel Securities’ trade secrets and other

confidential information developed and applied by Citadel Securities’ operations in New York.

       35.     Personal jurisdiction may also be proper over non-domiciliary Doe Investor

Defendants who engaged in tortious conduct within New York pursuant to CPLR 302(a)(1)-(2).

       36.     Pursuant to CPLR 301, personal jurisdiction is also proper over any Doe Investor

Defendants who reside in New York, are incorporated in New York, and/or whose principal place

of business is in New York.

       37.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

portion of the events giving rise to Citadel Securities’ claims occurred in the Southern District of

New York. Portofino tortiously interfered with the employment agreements of Citadel Securities

employees based in Citadel Securities’ New York office through solicitations made in this district,

and misappropriated Citadel Securities’ trade secrets and confidential information that were

developed, used, and maintained in part at Citadel Securities’ New York office, which is located

within this district at 350 Park Avenue, New York, New York.




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                                         JURY DEMAND

        38.    Plaintiffs hereby demand a trial by jury.

                                  FACTUAL ALLEGATIONS

  I.    CITADEL SECURITIES’ SUCCESS IS BASED ON ITS TRADE SECRETS AND
        CONFIDENTIAL INFORMATION

               A. Citadel Securities Is a Successful Market Maker

        39.    Citadel Securities acts as a market maker for trading in a number of assets and

securities, including equities, options, derivatives, fixed income products, and digital assets,

including crypto.

        40.    A “market maker” is a participant in the financial markets that stands ready to buy

or sell a particular asset or security for itself or investors from available inventory or by sourcing

it from an exchange or other market venue.

        41.    As a market maker in each of the assets or securities it trades, Citadel Securities

provides much needed market liquidity and efficient pricing to market participants and retail and

institutional investors around the world, including major asset managers, banks, broker-dealers,

hedge funds, public pension programs, and government entities.

        42.    Citadel Securities’ many competitive advantages as a market maker include its

proprietary technology, systems, and methods for market making and high-frequency trading using

algorithmic, systematic, and automated trading.

        43.    High-frequency trading relies on complex algorithms, powerful specialized

computers and servers, and customized technology to execute large numbers of trades in fractions

of a second.    Algorithmic trading relies on automated, pre-programmed sets of rules and

instructions based on complex formulas and mathematical and other models that are used to

determine when to buy or sell. Systematic trading relies on a defined set of rules—e.g., sell a



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particular stock at a particular price—to make trading decisions triggered by certain market

conditions and to manage market risk. Automated trading relies on computers to execute trades

according to programmed instructions.                These trading methods are not mutually exclusive;

automated systematic trading, for example, relies on computers programmed to execute trades

based on pre-determined market conditions.

          44.      Citadel Securities is renowned for its technology-driven trading expertise and

success. Using its proprietary research methodology and market analysis, Citadel Securities’ high-

frequency trading using algorithmic, systematic, and automated trading systems allows it to trade

smarter, at faster speeds, and at greater volumes. As a result of the sophisticated technology,

proprietary systems, and in-house expertise Citadel Securities has developed and refined over more

than two decades, Citadel Securities is the largest market maker in options in the United States and
                                                                                                                      4
handles a substantial percentage of all stock orders traded by retail and institutional investors.

Over the years, this suite of trading technology has been leveraged to expand into a variety of asset

classes and markets.

                   B. Citadel Securities’ Success Is Based on Its Trade Secrets and Other
                      Confidential Information

          45.      The commercially valuable trade secrets that Portofino, on information and belief,

has misappropriated include:             (1) Citadel Securities’ confidential and proprietary research

methodology (“Research Methodology”); (2) the bespoke set of trading techniques and

technologies, or confidential and proprietary trading strategies (“Trading Strategies”), developed

by Citadel Securities (using its Research Methodology) for trading in any asset that trades on

electronic markets; (3) Citadel Securities’ confidential and proprietary simulations, used for

testing, validating, and refining its Trading Strategies (“Simulations”); and (4) Citadel Securities’


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    Options, Citadel Securities, https://www.citadelsecurities.com/what-we-do/options/ (last visited May 16, 2023).


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confidential and proprietary business plans and business strategies (“Business Plans and

Strategies”), including for high-frequency trading across asset classes, including crypto (together,

with the Research Methodology, Trading Strategies, and Simulations, the “Trade Secrets”).

       46.        Citadel Securities has invested substantial time, as well as financial and other

resources, in developing these Trade Secrets, which enable Citadel Securities to provide optimal

liquidity and pricing for its clients, while also maximizing its per-trade revenue. They are its

competitive advantage. Indeed, Citadel Securities is believed to be unique among large-scale

market makers for the complexity of its Research Methodology, Trading Strategies,

and Simulations.

       47.        Citadel Securities’ confidential and proprietary Research Methodology includes

Citadel Securities’ know-how and processes, quantitative analysis, strategies, and automated and

high-frequency trading algorithms and implementing code, as well as its valuation, pricing,

forecasting, volatility, and other risk models.

       48.        Using its confidential and proprietary Research Methodology, Citadel Securities

develops confidential and proprietary Trading Strategies for buying and selling particular assets

and securities.

       49.        Citadel Securities’ confidential and proprietary Trading Strategies are in turn tested

and refined using confidential and proprietary Simulations. These Simulations are built using

historical market and institutional data, and then adjusted with proprietary statistical information

and analysis to accurately reflect real-world market behavior with enhanced precision. These

Simulations are used to fine tune and calibrate Citadel Securities’ Trading Strategies, thereby

further improving performance.

       50.        The employee know-how necessary to develop, refine, and deploy Citadel

Securities’ confidential and proprietary Research Methodology, Trading Strategies, and


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Simulations is an essential part of its Trade Secrets. Citadel Securities invests significant time, as

well as financial and other resources, in training its employees to develop and implement its

Trade Secrets.

       51.       Significantly, many of Citadel Securities’ Trade Secrets are asset neutral, which

means that they are broadly applicable to all of the assets in which Citadel Securities trades,

whether those assets are equities, European options, or, for example, crypto.

       52.       Citadel Securities’ Research Methodology, Trading Strategies, and Simulations are

fundamental components of its confidential and proprietary Business Plans and Strategies for the

various assets it trades. Those Business Plans and Strategies also include confidential and

proprietary product and market research and analysis, evaluations of competitors, and operational

considerations like resource allocation, the design and staffing of the business, and recruiting and

hiring efforts and objectives, among other things.

                 C. Citadel Securities Goes to Great Lengths to Protect Its Trade Secrets and
                    Other Confidential Information

       53.       To protect its Trade Secrets and other commercially sensitive confidential

information, Citadel Securities has implemented robust security measures across its operations.

Those security measures include, among other things: (1) requiring all employees to have an

electronic access card; (2) restricting physical access to the office environment generally and to

certain areas of the office based on individual employees’ job functions; (3) strictly limiting visitor

access; (4) 24-hour monitoring of its premises using security cameras, security staff, and other

measures; (5) protecting computer access by stringent information security measures that include,

but are not limited to, password protection and two-factor authentication, as well as granting each

user only the level of access to Citadel Securities’ computer network that is absolutely necessary

for them to perform their job functions; (6) limiting access to and knowledge of Citadel Securities’



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confidential and proprietary Research Methodology and other Trade Secrets to senior business unit

leaders and other key employees responsible for developing and implementing the Trade Secrets;

(7) having and enforcing policies that require employees to maintain confidential information and

work product exclusively within Citadel Securities’ secure environment; and (8) providing regular

training to employees about their obligations to comply with confidentiality obligations and

information security measures.

       54.     To further protect Citadel Securities’ confidential and proprietary information from

disclosure and theft, employees with access to its Trade Secrets and other confidential information

are required to sign non-disclosure agreements. These non-disclosure agreements recognize that

employees will have “access and exposure to Citadel’s Confidential Information”; “Citadel’s

Confidential Information will retain continuing vitality throughout and well beyond the period of

[the employee’s] employment”; and “any loss or erosion of Citadel’s competitive advantage

through the disclosure or improper use of [Citadel’s] Confidential Information could have severe

and irreparable repercussions on Citadel’s business.”

       55.     Because Citadel Securities employees necessarily have access to and use the Trade

Secrets to perform their jobs, because those Trade Secrets could contribute to and inform any new

works that an employee may create even on their own time, and because employees have

committed to give their full efforts to Citadel Securities and to not engage in outside business

activities without notice and consent, employees agree in advance to assign any work product they

develop to Citadel Securities. They agree that “all information, ideas, concepts, improvements,

discoveries and inventions . . . , and all other works of a creative, technical or professional nature

. . . that are conceived, made, developed or acquired by me during my employment with Citadel

that relate in any way to Citadel’s current, proposed or planned research, developments, operations,

business, strategies, products or services” are “the exclusive property of Citadel and shall be owned


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by Citadel” (emphasis added). Citadel Securities employees “further agree to assign . . . to Citadel

all rights that [they] may acquire regarding any” such work product. “Citadel” under the non-

disclosure agreement is defined to include Citadel Group, which includes all Citadel

Securities affiliates.

        56.     Importantly, the assignment to Citadel Group expressly applies to any work product

that is developed “entirely on [the employees’] own time” where such work product relates “to

any aspect of Citadel’s business” or “to Citadel’s actual or demonstrably anticipated research

or development.”

        57.     Employees with access to Citadel Securities’ Trade Secrets and other confidential

information also sign agreements that broadly prevent them from engaging in competitive activity

during their employment with Citadel Securities and for a “Restricted Period” following

termination of their employment. Among other things, employees in their Restricted Period cannot

(i) “intentionally or inadvertently, use or rely upon Confidential Information” relating to Citadel

Securities or its business activities, or (ii) “directly or indirectly . . . work[] on the development of

or utilize[e] or oversee[] work on the development or utilization of . . . automated trading strategies

. . . that are materially similar to” those of Citadel Securities.

        58.     Certain employees, including Portofino’s co-founder Lancia, are also subject to

supplemental agreements, which extend the length of their non-compete term with respect to work

similar to Citadel Securities’ “high-frequency trading, algorithmic trading, systematic trading or

automated trading businesses.”

        59.     As consideration for entering into these agreements and continuing to abide by

them, Citadel Securities employees are paid significant sums—in Lancia’s case, for example,

hundreds of thousands of dollars—over the course of their Restricted Periods.




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       60.     Citadel Securities employees, including Portofino’s founders and other Portofino

employees, also sign non-solicitation agreements designed to further protect Citadel Securities

from the disclosure or theft of its Trade Secrets and confidential information by preventing them

from recruiting and hiring other Citadel Securities employees for a period of time.

               D. Citadel Securities Is and Has Been Using Its Trade Secrets and
                  Confidential Information for High-Frequency Crypto Trading

       61.     Citadel Securities has invested substantial amounts of money, as well as time and

human resources, applying its asset-neutral Trade Secrets to high-frequency, algorithmic,

systematic, and automated Trading Strategies for crypto.

       62.     Portofino co-founder Casimo knew from his role as Business Manager that Citadel

Securities was exploring the application of its business model to crypto and/or digital assets and

that by 2019, Citadel Securities was already engaged in several forms of crypto trading.

       63.     By way of example, on March 9, 2018 in a Slack conversation with his supervisor,

Citadel Securities’ Managing Director and COO for Global Derivatives, Casimo was sent

information regarding “New businesses & M&A\Cryptocurrency.”

       64.     A month later, on April 9, 2018, Casimo’s supervisor forwarded him an email

entitled “Bitcoin Futures Update,” describing a meeting about Bitcoin that the supervisor had

participated in that morning with another Citadel Securities employee. Casimo followed up by

email to learn more about Citadel Securities’ strategy at that time in connection with crypto assets,

asking: “Is it simple arb between futures & actual cryptos on crypto-exchanges (Kraken, Poloniex,

etc.)? Or [are] we deploying anything smarter?” Casimo’s supervisor responded the same day

with details of Citadel Securities’ plans for crypto trading.

       65.     On April 26, 2019, Casimo joined a closed Slack channel for Citadel Securities

employees working on crypto initiatives and/or who had a personal interest in crypto, on which



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employees exchanged information about Citadel Securities’ Business Plans and Strategies for

crypto trading. In September 2019, messages on the Slack channel included a question about

whether a Citadel Securities employee was looking at crypto “in the context of trading it yourself,

or trading it as Citadel,” to which another employee replied “Both.” A third employee then stated

that, “CS is not very active in crypto although we have capability, record market data and even

fitted a couple of alpha [I] believe.” A colleague responded to acknowledge the crypto business

that Citadel Securities was already building, writing “just for interest, Systematic [Fixed Income,

Currency, and Commodity unit] currently trades the bitcoin future.            Although not in very

much size.”

       66.     These communications reflect how Citadel Securities was, during the course of the

Portofino founders’ employment with Citadel Securities, actively working on crypto-related

Business Plans and Strategies. And Citadel Securities has since been engaged in a variety of

crypto-based activities, including high-frequency crypto trading. Strategic hires to expand the

crypto business started at Citadel Securities while Portofino’s founders were still employed there.

       67.     In spring 2021, Vincent Prieur, a former New York-based employee who has since

been recruited to Portofino, along with other Citadel Securities employees, prepared and delivered

an internal presentation on Citadel Securities’ crypto-related business plan, strategies, and

opportunities. Prieur’s presentation, as set forth in greater detail below, included proprietary and

confidential information about Citadel Securities’ plans for high-frequency crypto trading.

       68.     Citadel Securities’ asset-neutral Trade Secrets and other confidential information

were an essential part of the various Business Plans and Strategies that Prieur and his team

developed and assessed as part of their crypto work for Citadel Securities.

       69.      In the months that followed, Citadel Securities implemented the Business Plans

and Strategies that Prieur had presented in the spring of 2021, assembling teams of employees and


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building the operational framework and technology platforms to engage in high-frequency

crypto trading.

        70.       Citadel Securities launched its internal algorithmic crypto trading business in early

2022, before Prieur left Citadel Securities to join Portofino.

        71.       In addition to its internal crypto market-making trading, in January 2022, Citadel

Securities announced a crypto-focused investment by Sequoia Capital and Paradigm.                            The

Managing Partner of Paradigm commented: “We look forward to partnering with the Citadel

Securities team as they extend their technology and expertise to even more markets and asset

classes, including crypto.”5

        72.       In June 2022, Citadel Securities announced it was entering into a joint venture with

high-frequency trading firm Virtu Financial and crypto-focused venture capital firm Sequoia

Capital to establish a liquidity-aggregating crypto trading platform that brings together market

makers from across the industry who can provide liquidity to reduce spreads and improve market
                                6
efficiencies on the platform.
                                                                                                         7
        73.       This joint venture, EDX Markets, officially launched on September 13, 2022, with

Citadel Securities’ former New York-based Global Head of Business Development as its CEO.

EDX Markets’ CEO remains based in New York. Citadel Securities’ Trade Secrets and other




5
  Press Release, Citadel Securities, Citadel Securities Announces $1.15 Billion Investment From Sequoia and
Paradigm (Jan. 11, 2022), https://www.citadelsecurities.com/news-and-insights/citadel-securities-announces-1-15-
billion-investment-from-sequoia-and-paradigm/.
6
   Katherine Doherty, Citadel Securities’ Business Head Nazarali Leaves for Joint Crypto Venture With Virtu,
Bloomberg (June 28, 2022), https://www.bloomberg.com/news/articles/2022-06-28/citadel-securities-nazarali-
leaves-to-run-firm-s-crypto-venture.
7
  Press Release, EDX Markets, Digital Asset Exchange EDX Markets Launches with Backing from Leading Broker-
Dealers,    Global     Market     Makers      and    Venture   Capital    Firms     (Sept.    13,    2022),
https://www.businesswire.com/news/home/20220913005367/en/.


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confidential information, designed, in part, from the work of Prieur and others, are an essential

component of the technology and infrastructure used by EDX Markets.

           74.   Just two days later, on September 15, 2022, Portofino emerged from “stealth

mode.” Portofino announced that it, too, was a crypto market maker led by “leaders from Citadel

Securities, the leading global market maker in traditional finance” and that it had market-leading
                                      8
high-frequency trading technology.

    II.    PORTOFINO MISAPPROPRIATED CITADEL SECURITIES’ TRADE
           SECRETS AND CONFIDENTIAL INFORMATION

                 A. Portofino’s Founders Held Key Positions at Citadel Securities and Had
                    Access to Citadel Securities’ Trade Secrets and Confidential Information

                        1. Portofino Co-Founder Leonard Lancia

           75.   From September 2018 to March 2021, Portofino co-founder Leonard Lancia was a

senior Quantitative Researcher and ultimately Head of Systematic European Options Market

Making, who had full access to Citadel Securities’ Trade Secrets, including but not limited to its

confidential and proprietary Research Methodology.

           76.   Lancia’s principal project during his tenure at Citadel Securities was to take and

leverage Trade Secrets from across Citadel Securities’ existing businesses in New York and

elsewhere and use them to build, deploy, and oversee a new business line for Citadel Securities:

Systematic European Options Trading.

           77.   Because he was responsible for launching a new trading business that was based on

other established Citadel Securities businesses—most notably, Citadel Securities’ existing U.S.




8
  Press Release, Portofino Technologies, Portofino Technologies Announces $50 Million Investment to Build
Financial Infrastructure Technology to Power Digital Asset Adoption (Sept. 15, 2022),
https://www.businesswire.com/news/home/20220915005104/en/Portofino-Technologies-Announces-50-Million-
Investment-to-Build-Financial-Infrastructure-Technology-to-Power-Digital-Asset-Adoption.


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Options Trading business—Lancia necessarily had access to, and used, Citadel Securities’ Trade

Secrets in his work.

       78.     Specifically, Lancia created a systematic trading platform for European options

trading using Citadel Securities’ Trade Secrets. He analyzed and wrote code for that trading

platform using Citadel Securities’ Trade Secrets. He determined pricing and forecasted risk for

European options trading using Citadel Securities’ Trade Secrets. And he developed and tested

Trading Strategies for European options trading, and made improvements to those Trading

Strategies, using Citadel Securities’ Trade Secrets.

       79.     Throughout this process, Lancia worked collaboratively with Citadel Securities’

Head of U.S. Options Trading, who is based in Citadel Securities’ New York office and runs

Citadel Securities’ U.S. options trading desk also located in New York, as well as the Chicago-

based Head of Derivatives and other colleagues across the U.S. Lancia leveraged Citadel

Securities’ Trade Secrets that were developed and used by the New York U.S. Options team and

other U.S.-based teams.

                       2. Portofino Co-Founder Alex Casimo

       80.     From January 2018 to March 2021, Portofino’s co-founder Alex Casimo was a

senior Business Manager in the Office of the COO, where he was the primary point of contact for

the European options trading desk that Lancia built using Citadel Securities’ Trade Secrets.

       81.     During his tenure in Citadel Securities’ Office of the COO, Casimo had broad

visibility into Citadel Securities’ Business Plans and Strategies with respect to high-frequency,

algorithmic, systematic, and automated trading in different assets, including crypto.

       82.     Casimo knew from his role as Business Manager that Citadel Securities was

exploring the application of its Trade Secrets to crypto and/or digital assets. As discussed above,

as early as March 2018, Casimo was involved in internal discussions, including with other senior


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Citadel Securities employees about the firm’s plans to trade crypto and crypto-adjacent financial

products. And Casimo knew which employees at Citadel Securities had experience and interest

working in crypto, which, on information and belief, Portofino would later use to tortiously

interfere with Citadel Securities’ relationships with its employees.

                       3. Portofino’s Founders Had Access to Citadel Securities’ Trade
                          Secrets and Other Confidential Information

       83.     In their respective roles at Citadel Securities, Portofino’s founders collectively

covered the core and complementary functions needed to operate a market making and high-

frequency trading business in any asset class, with Lancia providing quantitative research skills as

part of the European Options Trading business, and Casimo aligned to the business in an operations

capacity. They facilitated market making and high-frequency trading in financial assets, which

uses algorithmic, systematic, and automated trading. Those skill sets were and are transferable

across asset classes that are capable of trading on other exchanges, including digital assets

and crypto.

       84.     Portofino’s founders also worked with other Citadel Securities colleagues who

similarly had knowledge of an array of Citadel Securities’ Trade Secrets—including proprietary

systems and technologies, Trading Strategies, and plans for expanding its business—and who had

deep expertise in the foundational systems, technologies, strategies, and ongoing improvements

that underlie Citadel Securities’ market making and high-frequency trading success (i.e., its

Research Methodology, Simulations, etc.). In the course of that work, they gained first-hand

knowledge of the specific skills, expertise, and knowledge that these colleagues would bring to

another firm and knew the harm that taking such colleagues could cause to Citadel Securities.

       85.     Because they were senior Citadel Securities employees with access to Trade

Secrets, Portofino’s founders were subject to agreements that broadly prohibited them from



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engaging in competitive activity during their employment with Citadel Securities and for an eight-

month “Restricted Period” following termination of their employment, for which they were

compensated hundreds of thousands of dollars.

       86.     Lancia was also subject to an additional agreement that barred him from working

in “high frequency trading, algorithmic trading, systematic trading or automated trading

businesses” for another seven months after the end of his initial eight-month Restricted Period.

       87.     In addition to their non-compete agreements, both Portofino founders were also

subject to non-solicitation and non-disclosure agreements with Citadel Securities.

       88.     They also agreed to assign all of their work product “that was conceived, made,

developed, or acquired by [them] during any employment with Citadel that relate[s] in any way to

Citadel’s current, proposed or planned research, developments, operations, business strategies,

products, or services.”

               B. Portofino Intentionally Hid Itself from Citadel Securities

                          1. Portofino Was Secretly Developed While Its Founders Were Still
                             Employed by Citadel Securities and Had Access to Citadel
                             Securities’ Trade Secrets and Confidential Information

       89.     Notwithstanding their express assignment to Citadel Securities of all rights in their

work, Portofino’s founders made the calculated decision to begin developing Portofino while they

were still employed at Citadel Securities and had unfettered access to Citadel Securities’ Trade

Secrets and other confidential information.

       90.     Casimo admitted as much. As noted above, in an October 19, 2020 email to a

partner at the venture capital firm 7percent, Casimo responded to a question about when he and

Lancia would be free to “focus on” Portofino by assuring the 7percent partner that “we have (and

are) putting in a LOT of focus into this project now.” As a result, Portofino itself is work product




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that belongs to Citadel Securities because it was “conceived, made, developed or acquired” during

its founders’ employment with Citadel Securities.

       91.     Some of the steps taken while Portofino’s founders were still employed by Citadel

Securities include the following:

       92.     August-October 2020: Casimo scrutinized his non-compete agreements with

Citadel Securities. In August 2020, Casimo began raising questions about his non-compete

agreement with Citadel Securities.

       93.     As reflected in notes he emailed to himself on September 2, 2020, Casimo wanted

to know if Citadel Securities would be the ultimate arbiter of any dispute over whether future

employment was “competitive” with Citadel Securities.

       94.     He also wanted to know whether he would still receive the Restricted Period

payments if he engaged in employment during his non-compete period that was ultimately found

to be non-competitive.

       95.     On October 14, 2020, Casimo sent copies of both the renewed and prior versions

of his non-compete agreement to his personal email.

       96.     Early Fall 2020: Portofino’s pitch was circulating among the tech investor

community. As described above, Portofino began to push its business case out to the early-stage

tech investing community in the fall of 2020. As early as September 22, 2020, Casimo was

emailing with the 7percent partner after being introduced by a mutual friend who described Casimo

as working on “a new opportunity to muscle in on this crypto game.” By that time, Portofino’s

“pitch document”—which Casimo himself later emailed directly to the 7percent partner—had

already been sent by their mutual friend. The pitch document asserted that Portofino’s market-

making business would generate $2.5 billion per year and touted its founders’ experience as

“senior leaders at a global High Frequency Trading firm,” including their “track record of building


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market making businesses.” This experience with Citadel Securities’ Trade Secrets was, according

to the pitch materials, “a crucial differentiating factor” for Portofino.

       97.     Casimo met with the 7percent partner on September 25, 2020 and followed up with

an email offering to introduce him to Lancia. Casimo described Lancia as “far more technical”

than Casimo, and said that he expected the 7percent partner and Lancia would have a “very good

conversation on e.g. latency considerations for HFT trading.”

       98.     October 2020: Portofino’s founders solicited crypto-focused investors. The day

after Casimo sent copies of his non-compete agreements to his personal email, on October 15,

2020, he sent an invitation for a video conference from his Citadel Securities email address to

Lancia’s personal email address and to the 7percent partner. At the same time, Casimo sent the

Portofino pitch document directly to 7percent from Casimo’s personal email account.

       99.     The following day, on October 16, 2020, Portofino’s founders spoke with the

7percent partner and sought his financial support for Portofino.

       100.    In an October 19, 2020 email to the 7percent partner, which copied Lancia, Casimo

explained that he and Lancia were already “actively discussing” potential investments in Portofino

with “a few VCs that have shown interest,” and that “[i]ndicatively February 2021 would be our

official start date.” Casimo also provided the 7percent partner with Portofino’s new and expanded

draft pitch deck for investors, in which the founders boasted about being “senior leaders” at “the

world’s largest HFT market maker” and made clear that they intended to “[r]eplicate the most

successful trading business model in traditional financial markets in crypto-currency markets.”

       101.    These communications make clear that Portofino began discussing potential equity

infusions with the Investor Defendants no later than the fall of 2020. And they obtained financing

from them in late 2020 and/or early 2021, while Portofino’s founders were still working for

Citadel Securities.


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        102.     January 2021:           Portofino obtained seed funding.          Indeed, by early 2021,

Portofino’s founders had secured at least one outside investor for Portofino.

        103.     On his LinkedIn profile, French tech-industry investor and self-proclaimed

“business angel” Jean Canzoneri identifies himself as a “Seed Investor” in Portofino starting in

January 2021, right above a link to Bloomberg’s September 2022 article about Portofino’s
                                     9
emergence from “stealth mode:”




9
  Until February 2023, Canzoneri’s LinkedIn page indicated that he had provided Portofino with seed funding in
January 2020, a full fifteen months before Portofino’s founders resigned their positions at Citadel Securities.


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       104.    In February 2021, the partner at 7percent introduced Portofino to a crypto-focused

venture partner at Greenfield Capital. The Portofino founders were still employed by Citadel

Securities when the introduction to Greenfield Capital was made.

                       2. Portofino Was Incorporated Immediately After Its Founders Left
                          Citadel Securities

       105.    Underscoring the fact that its founders had been developing Portofino for months

before tendering their resignations from Citadel Securities in March 2021, Portofino’s official

company website was registered on March 13, 2021, less than two weeks after Lancia and Casimo

gave notice and just one day after Lancia, and five days before Casimo, formally left Citadel

Securities.

       106.    Within a few weeks, on April 27, 2021, Portofino was incorporated in Zug,

Switzerland. Portofino’s entry in the Commercial Register of the Zug Canton lists Lancia as the

President of the Board of Directors since the date of Portofino’s incorporation. He is also

Portofino’s Chief Executive Officer.

       107.    Portofino’s other director at its founding was Martin Eisenring, a Zug attorney

specializing in incorporation. Eisenring is a serial advisor to crypto startups who provides advisory

services for structuring, documenting, and regulating digital assets. Eisenring has been affiliated

with more than 120 different companies in Switzerland. Since 2019, Eisenring has chaired the

Investors’ Working Group of the Crypto Valley Association, a trade association that supports the

crypto industry in Zug. He is a regular speaker on topics relevant to crypto startups.

       108.    In August 2021, Hugues de Heinzelin de Braucourt joined Portofino’s Board of

Directors. On information and belief, de Braucourt resides in New York and was formerly

affiliated with the venture capital firm Global Founders Capital, which has publicly disclosed its

investment in Portofino.



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       109.      After months of collaborating with Lancia to get Portofino off the ground, Casimo

formally joined Portofino’s Board on June 6, 2022. Casimo is its Chief Operating Officer and

describes himself as Portofino’s Founder.

                        3. Portofino Continued to Expand Its Operations in Secret

       110.      Between its incorporation in April 2021 and its public exit from “stealth mode” in

September 2022, Portofino traded billions of dollars’ of crypto (based on its own public reporting)

on behalf of clients all over the globe, including, on information and belief, clients in New York.

       111.      During this time, Portofino also pursued both equity and debt financing from

investors and lenders based in New York and elsewhere, and began recruiting employees around

the world, including employees for Portofino’s publicly announced New York office. Portofino

also began siphoning off employees from Citadel Securities’ New York office, like Vincent Prieur.

Portofino concealed all of this from Citadel Securities.

       112.      Spring – Summer 2021: Portofino began preparing to trade crypto products

and started trading shortly thereafter. Mere weeks after its founders resigned from Citadel

Securities, Portofino already employed at least two quantitative researchers, laying the

groundwork for its plan to trade crypto products using Citadel Securities’ Trade Secrets. By May

2021, Portofino also employed at least two quantitative developers, a lead DevOps software

engineer, a vice president of strategy and investments, a talent and acquisition partner, a chief

financial officer, a vice president of strategy and operations, and an executive

assistant/office manager.

       113.      By the summer of 2021, Portofino had grown sufficiently large that, on information

and belief, it threw itself a congratulatory, private party on a boat in Italy, attended by many of

its employees.




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       114.     Portofino also purportedly began trading crypto products no later than

September 2021.

       115.     July – August 2021:        Portofino sought additional funding.       To finance

Portofino’s rapid growth and crypto trading, Lancia traveled to the United States including, on

information and belief, to New York, in the summer of 2021 to meet with additional potential

Portofino investors. On information and belief, at least some of the additional funding provided

by the Investor Defendants was secured in the summer and fall of 2021.

       116.     August – December 2021: Portofino began clandestinely recruiting other

Citadel Securities employees and continued raising funds from outside investors. At the

outset of what ultimately became a widespread effort to recruit Citadel Securities employees to

join Portofino, one U.S. Citadel Securities employee was asked by Portofino in August 2021 what

his “hurdle number” would be to leave. It is unknown to Citadel Securities when Portofino’s

outreach to that employee first began.

       117.     While Portofino was not able to successfully recruit the employee it approached in

August 2021, as discussed above, one of Portofino’s pivotal successful recruits was Prieur, the

“aggregator of all things crypto” in the U.S. for Citadel Securities. Prieur was based in Citadel

Securities’ New York office.

       118.     In October 2021, Casimo met Prieur in person to begin a concerted push to lure him

from Citadel Securities. Casimo told Prieur that Portofino had already raised funds from investors

and had ambitious plans to grow into a crypto trading firm.

       119.     Seriously considering Portofino’s offer of employment, in November 2021, Prieur

and his wife traveled to Zug, Switzerland, where Portofino is headquartered. By this time,

Portofino had at least ten employees and, on information and belief, had already begun to

trade crypto.


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         120.     By November 2021, former Citadel Securities Systematic Options Trader Taym

Moustapha had begun working at Portofino in violation of his non-compete agreement.

Moustapha, who worked on the Citadel Securities European options trading desk that Lancia had

established, had direct knowledge of the code base that is an essential component of Citadel
                               10
Securities’ Trade Secrets.

         121.     On information and belief, by December 2021, less than a year after its founders

resigned from Citadel Securities, Portofino had already closed two rounds of fundraising and was

actively trading on crypto exchanges, which it was only able to do by pitching and exploiting its

many connections to Citadel Securities. Indeed, so successful was Portofino’s fundraising that, on

information and belief, it threw itself an extravagant, private Christmas party to celebrate.

         122.     Two months after visiting Portofino’s offices in Switzerland, on January 10, 2022,

Prieur contacted a senior Citadel Securities executive who was working on crypto projects to say

that Prieur was “centralizing all our crypto efforts globally” and to ask for time with the senior

executive to “align” on Citadel Securities’ global crypto initiatives. Later that month, Prieur

informed Citadel Securities that he was leaving.

         123.     Prieur—while still subject to a non-compete agreement with Citadel Securities—

began working for Portofino in April 2022, bringing with him knowledge of Citadel Securities’

crypto-related Business Plans and Strategies, as well as other of Citadel Securities’ Trade Secrets

and confidential information, much of which he had learned while working in Citadel Securities’




10
  Citadel Securities is engaged in ongoing arbitration proceedings in the United Kingdom involving former employees
referred to in this Complaint. Citadel Securities’ claims against those individuals are separate and distinct from the
claims brought against Portofino here.


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New York office. Indeed, that is precisely why Portofino hired Prieur: to make its own crypto
                              11
trading business scalable.

        124.     February 2022: Portofino further expanded its recruiting efforts. In February

2022, Portofino’s founders attended a recruiting event organized by the Oxford University Crypto

Society on “High Frequency Trading in Crypto.” A Facebook post associated with the event

described Portofino as being “backed by some big names, including Peter Thiel” and touted

Portofino’s connections to Citadel Securities.

        125.     By February 2022, Portofino and its recruiters were also prolific posters on job

boards, seeking additional employees for roles in multiple locations.

        126.     May 2022: Portofino began obtaining debt financing. In May 2022, Portofino

obtained debt financing from crypto lender BlockFi International Ltd.                       Portofino obtained

additional debt financing from crypto lender Celsius Network LLC in June 2022, and from crypto

investment firm Maven 11 in September 2022.

        127.     May 2022: Portofino recruited New York employees. In May 2022, Portofino

recruiter Debolina Agarwal—who describes herself on LinkedIn as a “Global Acquisition

Partner—Blockchain, Crypto, Market Making, High Frequency Trading”—began posting on

LinkedIn about open roles at Portofino.




11
  After being actively recruited by Portofino, Prieur began working at the company more than a year before his non-
compete period was set to expire on June 19, 2023. Citadel Securities obtained a temporary restraining order
preventing Prieur from continuing to violate his non-compete agreement pending resolution of the parties’ dispute.
See Citadel Secs. Ams. Servs. LLC v. Prieur, No. 1:22-cv-05185, ECF 16 (N.D. Ill. Sep. 28, 2022) (granting TRO).
Citadel Securities’ case against Prieur was subsequently voluntarily dismissed. Id., ECF 32, 33 (N.D. Ill. Oct. 26,
2022). Prieur, on information and belief, honored the remainder of his non-compete period before returning to work
for Portofino earlier this year.


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       128.   The open positions at Portofino that Agarwal posted were located in New York,

among other locations:




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           129.     May 2022: Portofino hosted a one-year anniversary party. To celebrate the

one-year anniversary of its operations, on information and belief, Portofino hosted a private party

at a restaurant on the lake outside of Zug.

                            4. Portofino Finally Emerged from “Stealth Mode”

           130.     On September 15, 2022, Portofino came out of “stealth mode,” announcing that it

had raised $50 million from Valar Ventures, Global Founders Capital, and Coatue Management,

and that it had thirty-five employees “dispersed between offices in Switzerland, London, New
                            12
York, and Singapore.”            Valar Ventures and Coatue Management are both New York-based

investors in technology and blockchain companies.

           131.     According to Portofino, it was “ready for publicity,” bragging that it had

“handpicked a team of high frequency trading specialists from the best firms in traditional finance,
                                     13
[including] Citadel Securities.”

           132.     Consistent with Portofino’s eagerness for publicity and promoting its ties to Citadel

Securities, Bloomberg ran the following story with “Citadel Securities” appearing in both the
                                                                    14
headline and the first few words of the opening sentence:




12
   Sarah Butcher, Ex-Citadel Securities Staff Say New Venture Has Best Tech Jobs, eFinancialCareers (Sept. 15, 2022)
https://www.efinancialcareers.com/news/2022/09/portofino-technologies-crypto-jobs; see also Press Release,
Portofino Technologies, supra n.8.
13
     Butcher, supra n.11.
14
   Yueqi Yang and Ivan Levingston, Ex-Citadel Securities Duo Unveils Crypto High-Speed Trading Firm, Bloomberg
(Sept. 15, 2022), https://www.bloomberg.com/news/articles/2022-09-15/ex-citadel-securities-duo-unveils-crypto-
high-speed-trading-firm.


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          133.     eFinancialCareers similarly emphasized Portofino’s ties to Citadel Securities in its
                                                             15
story about Portofino’s emergence from “stealth mode”:




          134.     In its emergence from “stealth mode,” Portofino leaned heavily into the halo effect

that its founders’ and other employees’ connections to Citadel Securities—one of the world’s most

successful market makers—provided.             Their work at Citadel Securities conferred instant

credibility on Portofino, serving as shorthand for Portofino’s purported market-making and trading



15
     Butcher, supra n.11.


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acumen. That is why the name “Citadel Securities” made up two of the very first few words in

Portofino’s own September 15, 2022, press release, and why that same release acknowledged that
                                                                                     16
Citadel Securities was “the leading global market maker in traditional finance”:




           135.      To the public, the message was clear: two former Citadel Securities employees

had taken what they learned at Citadel Securities—i.e., Citadel Securities’ Trade Secrets and

confidential information—to start a rival high-frequency crypto trading firm.

           136.     As part of Portofino’s emergence from “stealth mode,” both of Portofino’s founders

spoke at a conference hosted by the Crypto Valley Association in Zug held on September 14-15,

2022, during which they actively promoted Portofino as “high frequency trading specialists” who
                                                                                             17
“deploy [their] tech to market make on centralized and decentralized crypto exchanges.”

           137.     Since exiting “stealth mode,” Portofino has continued to play on its connections to

Citadel Securities. On March 9, 2023, the Clearpool crypto lending exchange announced that

Portofino was added as a new borrower on its platform. The Q&A-style press release opened by

saying that Portofino was founded by “two former leaders at Citadel Securities.” Later, in response

to a question about risk management strategies that Portofino had put in place to “ensure lenders’

funds are not misused,” Portofino flashed its bona fides: “Furthermore, we have an experienced




16
     Press Release, Portofino Technologies, supra n.8.
17
  CV Labs, CV Summit Day 2, YouTube (Sept. 15, 2022), https://www.youtube.com/watch?v=YN13i3GSDq8, at
21:10-21:28.


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Quantitative Trading team, led by Taym Moustapha (ex-Head of Trading for European Equities at
                                                                            18
Citadel Securities) that ensures our systems are operating as intended.”

                        5. Lies and Misrepresentations Prevented Citadel Securities from
                           Discovering Portofino’s Business

        138.    At the time of their departure from Citadel Securities in March 2021 and for many

months after, Portofino’s founders intentionally hid the existence of Portofino and the nature of its

business from Citadel Securities.

        139.    Immediately after giving notice of his resignation, and again during

communications with Citadel Securities’ Human Resources team in early March and in an exit

interview on March 16, 2021, Lancia claimed that he was leaving Citadel Securities because the

company was not sufficiently focused on growing its business in Europe. Based on Lancia’s

conversations with the Human Resources team and others, Citadel Securities understood that

Lancia had “[n]o new role,” did not have “any offers” of employment, and was “[s]till thinking

about whether he want[ed] to stay in finance.” This was false.

        140.    Casimo gave similar misrepresentations to his manager and false answers in his exit

interview conducted a few days later in March 2021. He said that he was leaving because Citadel

Securities was not invested in Europe and that there was not enough consistency in the company’s

priorities. Casimo told his manager and the HR interviewer that he did not have a new job and

complained about Citadel Securities’ non-compete policies.

        141.    As a result of their misrepresentations to Citadel Securities, Portofino’s founders

obtained more favorable departure terms than they would have otherwise received—namely, the

reduction of their mandatory three-month notice periods—and their non-compete and non-



18
    Press Release, Clearpool, Clearpool Announces New Borrower – Portofino (Mar.                9,   2023),
https://medium.com/clearpool-finance/clearpool-announces-new-borrower-portofino-5df5e11155a1.


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solicitation periods ended sooner than otherwise would have been the case. During those periods,

they had an obligation to notify Citadel Securities of new employment, and they were being paid

significant sums each month by Citadel Securities.

       142.     In November 2021, after Portofino had hired multiple employees and, on

information and belief, built the infrastructure and systems on which Portofino now runs, Lancia

finally told Citadel Securities that he was “Chairman of the Board for the company Portofino

Technologies Ltd.” He identified the company’s business as the “development, sale and licensing

of software.”    Lancia provided this information more than six months after Portofino was

incorporated, rather than fourteen days prior to engaging in any business of any type during his

Restricted Period, as he was obligated to do under his agreements with Citadel Securities.

       143.     After Citadel Securities reminded Lancia that he was still in his Restricted Period

and subject to his non-compete agreement, Lancia wrote in November 2021 that he “intend[ed] to

fully comply with my obligations towards Citadel Securities” and that Portofino “is not in any way

competing with Citadel Securities.” This was not true. Portofino was already taking steps to

establish itself as a market maker and liquidity provider in the crypto space that would compete

with Citadel Securities by trading crypto.

       144.     Following repeated requests from Citadel Securities for additional information, in

November 2021, Lancia ultimately said only that he had “invested money in” Portofino and that

as an “early stage investor[]” he “like[d] to sit on the board.” Lancia wrote that he did not have

any “daily responsibilities” as chair, but that his general responsibilities were “[c]hairing the

board,” “[p]romoting high standards for corporate governance,” and “[s]etting the board agenda,

and making sure it’s focused on strategic matters.” He conveniently omitted that, on information

and belief, he was writing code and running a high-frequency trading operation.




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       145.    In response to a letter from Citadel Securities’ outside counsel with detailed

questions about Portofino, in December 2021, Lancia doubled down on his previous

misrepresentations, stating that “Portofino does not compete in any way with Citadel Securities.”

Lancia described Portofino’s business only as an “app that is a distributed ledger technology,” the

“scope of applications” of which “is not fully understood at this point”—failing entirely to note

that its business was market making, not to mention its use of Trade Secrets and other confidential

information belonging to Citadel Securities.

       146.    When Casimo finally surfaced in spring 2022 and was expressly asked by Citadel

Securities about his involvement with Portofino, he made similar misrepresentations about

Portofino’s business. In April 2022, Casimo described the October 2020 investor call with the

7percent partner as a “phone call with an acquaintance” and said that he did not “recall the contents

of the call.” In addition, he described Portofino only as a “technology / blockchain company” and

said that “Citadel [Securities does] not participate in this sector.”

       147.    Casimo’s statement to Citadel Securities was entirely untrue. This would have been

clear at the time to Casimo, who had been aware of Citadel Securities’ crypto activities and plans

as early as 2018, when, as a Citadel Securities employee, he started participating in Citadel

Securities’ internal communications about crypto and learned of some of the activities

already underway.

       148.    Portofino’s efforts to hide its activities extended into its recruiting and employment

practices. On information and belief, Portofino employees were instructed not to disclose their

employment publicly, a prohibition that was formally incorporated into Portofino’s employee

agreements; the founders’ approval was required for employees to post about their positions at

Portofino on social media.




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       149.    However, in its private recruiting efforts, and publicly when Portofino exited

“stealth mode” in September 2022, Portofino self-identified as a market maker in high-frequency

crypto trading that had been in existence for more than seventeen months, belying the

misrepresentations its founders had repeatedly made to Citadel Securities.

       150.    Portofino’s duplicity was intentional and brazen. As an example of this deceit, after

noticing the Bloomberg article on Portofino in September 2022, a Citadel Securities employee

pointed out in a message to Prieur that he had previously told her that Casimo was “just chilling

in Sicily post-CitSec.” Prieur blithely responded: “Hehe[.] Welll[.] [sic] He wasnt[.]”




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            151.     Meanwhile, by this time, Prieur had been paid by Portofino for almost six months

(unbeknownst to Citadel Securities, which was paying him thousands of dollars per month under

his non-compete agreement) and had attended Portofino’s May 2022 one-year anniversary party.

                     C. Portofino Misappropriated Citadel Securities’ Trade Secrets and
                        Confidential Information

            152.     Despite what its founders told Citadel Securities in late 2021 about Portofino’s

business, it turns out that Portofino is not a software company or an app.

            153.     Rather, Portofino describes itself as a crypto market maker. By its own public

statements, Portofino “provide[s] liquidity on any one of thousands of trading pairs . . . across all

of the main centralized and decentralized crypto markets,” offers “execution services to

institutional clients,” and helps provide “advisory and market making services upon” the listing of
                                                                           19
new tokens on either centralized or decentralized exchanges. Its public press release upon exiting

from “stealth mode” was explicit; Portofino “deploys its proprietary market-making technology to
           20
trade,” leveraging the same technology that Citadel Securities is using to perform similar services

in a variety of asset classes and markets.

            154.     Portofino also claims that its “competitive advantage is its superior proprietary
                                                                                                                      21
technology . . . to provide its clients and partners with the best pricing in the market” —

a description that could have been ripped directly from Citadel Securities’ own
                          22
marketing materials.


19
     Id. at 27:50.
20
     Press Release, Portofino Technologies, supra n.8.
21
     Id.
22
   See, e.g., What We Do, Citadel Securities, https://www.citadelsecurities.com/what-we-do/ (“We provide liquidity
to ensure institutions and retail investors can trade what they want, when they want—in all market conditions around
the world. . . . We meet clients’ liquidity needs across a range of asset classes.”) (last visited May 16, 2023); Equities,
Citadel Securities, https://www.citadelsecurities.com/what-we-do/equities/ (“[W]e provide block-sized liquidity to
help clients minimize the impact of large trades and get the best price for their order.”) (last visited May 16, 2023).


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          155.     In fact, one business reporter observed in September 2022: “[G]iven that

[Portofino’s founders’] previous employer announced its own plans to build a crypto trading

marketplace in June, it’s worth questioning whether the two might have been better off hanging
                                                                   23
on and building under the Citadel Securities umbrella instead.”

          156.     Portofino is leveraging its founders’ and other employees’ associations with Citadel

Securities as selling points and shorthand for Portofino’s supposed acumen and expertise. The

essence of Portofino’s pitch is: You should invest in, or work for, or use Portofino because our

founders used to work for Citadel Securities, Portofino’s other top employees used to work for

Citadel Securities, and we operate in the same space as Citadel Securities, performing the same

market-making role and engaging in high-tech high-frequency trading just like Citadel Securities.

          157.     The clear implication of that pitch is: We, too, have Citadel Securities’ “secret

sauce.”      In other words, Portofino operates with the Trade Secrets and other confidential

information it obtained from Citadel Securities.

          158.     This, of course, is the same pitch that Portofino had been delivering to the venture

capital community as early as the fall of 2020, while its founders were still employed at Citadel

Securities. Portofino’s founders made this pitch explicit in the draft PowerPoint deck sent in

October 2020 described above, in which they boasted about being “senior leaders” at Citadel

Securities and made clear that Portofino intended to “replicate” Citadel Securities’ business model.

          159.     Portofino’s pitch has been successful, based on public quotes from its investors.

Oliver Samwer, the founder of Global Founders Capital, said that his firm was “excited about the

potential of Portofino” because “[y]ou rarely find a founding team with such fantastic expertise to




23
     Butcher, supra n.11.


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solve the problems that digital asset market participants face today.”               The “fantastic expertise”

to which Samwer was referring was clearly a reference to Portofino’s many connections to Citadel

Securities, the “crucial differentiating factor” for Portofino, according to Portofino itself.

        160.     Indeed, the timing of Portofino’s launch would not have been possible without

using Citadel Securities’ Trade Secrets and confidential information.                   Portofino would not

otherwise have been able to ramp up as quickly as it did, raise as much money as it did, or

purportedly trade in billions of dollars on crypto exchanges as it claims that it did while operating

in “stealth mode.”

        161.     Portofino’s founders used Citadel Securities’ Trade Secrets and other confidential

information to build and operate Citadel Securities’ European options trading business.

Portofino’s founders then did for Portofino exactly what they had done for Citadel Securities. Just

as they had used the Trade Secrets and know-how of Citadel Securities’ U.S. options trading

business to build and operate Citadel Securities’ European options trading business, this time, they

used Citadel Securities’ Trade Secrets and other confidential information and, on information and

belief, applied that same know-how to build and operate another new business—this time a high-

frequency crypto trading business called Portofino.

        162.     The asset-neutral nature of Citadel Securities’ Trade Secrets and other confidential

information—and Portofino’s founders’ and other employees’ access to and familiarity with those

Trade Secrets—makes it implausible that they and others at Portofino did not use—whether

intentionally or unintentionally, directly or indirectly—Citadel Securities’ Trade Secrets and other




24
   Vignesh R, With $50M, former Citadel Securities execs launch high-frequency crypto trading platform
(Sept. 15, 2022),     https://techfundingnews.com/with-50m-former-citadel-securities-execs-launch-high-frequency-
crypto-trading-platform/.


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confidential information at Portofino. It would have been impossible for them not to since they

are directly applicable to the business of Portofino.

        163.    Portofino was well aware that these former Citadel Securities employees had

obligations not to use Citadel Securities’ Trade Secrets and other confidential information. As

detailed above, Citadel Securities has maintained robust security measures and restricted access to

its Trade Secrets and other confidential information, and its employees are bound by contractual

obligations not to misuse those Trade Secrets.

        164.    That is also why Citadel Securities’ senior employees—including Portofino’s

founders—agreed to assign to Citadel Securities all of their work product “conceived, made,

developed, or acquired” during their employment with Citadel Securities; the likelihood that any

such work product would include Citadel Securities’ Trade Secrets and other confidential

information demands such protection.         As set forth above, Portofino’s founders clearly

“conceived” and “developed” Portofino during employment with Citadel Securities. The founders

therefore knew that Portofino itself constituted “work product” that belonged to Citadel under the

terms of their employment, which further explains the extents to which they went to conceal their

duplicitous activities.

        165.    On information and belief, Portofino has improperly used or relied upon, whether

intentionally or inadvertently, directly or indirectly, Citadel Securities’ Trade Secrets and other

confidential information in its business and in providing services to its customers.

        166.    In addition, on information and belief, Portofino has misappropriated Citadel

Securities’ confidential Business Plans and Strategies for its high-frequency crypto trading

business through its poaching of Vincent Prieur. Prieur was Citadel Securities’ New York-based

“aggregator of all things crypto in the U.S” and described himself to colleagues as “centralizing




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all [of Citadel Securities’] crypto efforts globally.” The presentation he made to senior executives

in Spring 2021 included:

        •       detailed data about crypto exchanges, including bid-ask spreads, volume, and
                geographic information;
        •       in-depth analysis of crypto products, including data on market trends and
                funding rates;
        •       evaluations of existing crypto market-makers, including likely competitors;
        •       key considerations for the trading entity’s design and corporate organization;
        •       possible staffing proposals, including information on current Citadel Securities
                employees who had prior crypto-related experience before joining the company;
                and
        •       other confidential and proprietary information related to Citadel Securities’
                development of its crypto business.

        167.   That is precisely why Portofino hired Prieur rather than someone else without

Citadel Securities’ crypto-related work experience.

        168.   The Trade Secrets and other confidential information misappropriated by Portofino

reside and are used by Citadel Securities in New York. The asset-neutral nature of these Trade

Secrets means that they are developed and used by Citadel Securities’ businesses around the world,

including in New York. Moreover, in building and operating Citadel Securities’ European options

trading business, Lancia leveraged and adapted the Trade Secrets and other confidential

information used by the company’s U.S. options trading business, which was operated in part out

of New York. And Prieur’s work on Citadel Securities’ Business Plans and Strategies for high-

frequency crypto trading took place in New York.

III.    PORTOFINO TORTIOUSLY INTERFERED WITH CITADEL SECURITIES’
        EMPLOYMENT CONTRACTS

        169.   Portofino has attempted to recruit more than a dozen Citadel Securities employees.

For example, Portofino has solicited several Citadel Securities employees in New York, including




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a Business Manager in the Office of the COO covering certain algorithmically-traded assets, a

Systematic Trader, and a Quantitative Researcher.

       170.    Portofino is specifically targeting Citadel Securities’ employees, aiming to lure

those who would bring to Portofino their knowledge of Citadel Securities’ Trade Secrets and other

confidential information.

               A. Portofino Successfully Induced Taym Moustapha to Breach His
                  Employment Agreements with Citadel Securities

       171.    Portofino tortiously induced Taym Moustapha to breach his employment

agreements with Citadel Securities and work for Portofino.

       172.    A Systematic Options Trader who worked on Citadel Securities’ European options

trading desk that Lancia established, Moustapha had direct knowledge of the code base that

comprises essential components of Citadel Securities’ Trade Secrets, including its Research

Methodology and Trading Strategies.

       173.    Because of the nature of his work and the sensitivity of the Trade Secrets and

confidential information to which he had access, Moustapha’s employment with Citadel Securities

was subject to the non-compete, non-solicitation, and non-disclosure agreements described above.

       174.    Portofino knew that Moustapha’s employment with Citadel Securities was subject

to these agreements because Portofino’s founders had signed the same agreements in connection

with their employment with Citadel Securities. Indeed, Portofino used nearly identical copies of

some of these agreements for its own employees.

       175.    Those agreements prevented Moustapha from leaving Citadel Securities for

Portofino until the expiration of his mandatory Restricted Period.




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       176.    On July 26, 2021, Moustapha informed Citadel Securities of his resignation. In

connection with his resignation, Citadel Securities and Moustapha agreed to reduce his non-

compete period from fifteen to eight months.

       177.    On August 1, 2021, Moustapha signed a termination letter stating that his

employment with Citadel Securities would continue through October 26, 2021, the end of his

three-month notice period. The letter informed Moustapha that his Restricted Period would not

expire until March 25, 2022.

       178.    Moustapha joined Portofino by November 2021, during his Restricted Period. On

information and belief, Portofino knowingly induced Moustapha to join Portofino before his

Restricted Period expired in March 2022.

       179.    By hiring Moustapha in November 2021, not only did Portofino tortiously interfere

with Citadel Securities’ employment relationship with Moustapha and the obligations that

Moustapha owed to Citadel Securities, but it also misappropriated Citadel Securities’ Trade

Secrets and other confidential information with which Moustapha was intimately familiar—

specifically, the code base underlying Citadel Securities’ confidential Research Methodology and

Trading Strategies.

               B. Portofino Successfully Induced Vincent Prieur to Breach His Employment
                  Agreements with Citadel Securities

       180.    Portofino tortiously induced Vincent Prieur, a Business Manager in the Office of

the COO based in Citadel Securities’ New York office, to breach his employment agreements with

Citadel Securities and work for Portofino.

       181.    At Citadel Securities, Prieur had access to, acquired, and created valuable Trade

Secrets that were, and still remain, critical to Citadel Securities’ business.




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       182.    In particular, Prieur had access and visibility into Citadel Securities’ crypto-related

Business Plans and Strategies. He was part of a small team of Citadel Securities employees who

researched, analyzed, and evaluated opportunities and strategies for Citadel Securities to apply its

asset-neutral market-making model to high-frequency crypto trading. Throughout 2021 and 2022,

Citadel Securities invested significant time and resources into entering the crypto space, and Prieur

was integral to those efforts.

       183.    In   his    2021   year-end    performance     assessment,    Prieur   identified   his

“Accomplishment 1” as: “Lead[ing] CitSec’s foray into crypto,” which he noted included

“deliver[ing] an initial plan and diagnostic for trading crypto for C-suite,” and “review/initial

interaction with 20+ vendors and exchanges.” Later in that same self-assessment, Prieur stated

that he had “confirmed [his] ability to deliver on high-visibility items,” and listed “Crypto strategy

kick off” as an example.

       184.    His manager wrote that Prieur had “excellent strategic perspective,” and that he was

“one of the strongest on the team when it comes to evaluating a new opportunity or challenge from

a conceptual problem solving perspective,” noting that a “[r]ecent example[] include[d] crypto.”

       185.    In early 2022, Prieur’s manager told Prieur that he “need[ed] to be the aggregator

of all things crypto in the US and [others at Citadel Securities] need[ed] to keep [him] fully in

the loop.”

       186.    Through his work on Citadel Securities’ crypto team, Prieur was intimately familiar

with Citadel Securities’ research and analysis of opportunities in the crypto space and how Citadel

Securities’ confidential and proprietary Trade Secrets could be leveraged in the crypto markets.

       187.    Because of the nature of his work and the sensitivity of the Trade Secrets and other

confidential information to which he had access, Prieur’s employment with Citadel Securities was

subject to the non-compete, non-solicitation, and non-disclosure agreements described above.


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       188.    Portofino knew that Prieur’s employment with Citadel Securities was subject to

these agreements because Portofino’s founders had signed the same agreements in connection with

their employment with Citadel Securities. Indeed, Portofino used nearly identical copies of some

of these agreements for its own employees.

       189.    Prieur’s employment agreements prevented him from leaving Citadel Securities to

join Portofino until the expiration of his mandatory Restricted Period in June 2023.

       190.    As detailed above, however, Portofino began recruiting Prieur in October 2021.

And Prieur informed Citadel Securities of his resignation from Citadel Securities in January 2022,

shortly after he contacted a Citadel Securities executive to ask about other ongoing crypto projects

at Citadel Securities, describing himself as “centralizing all our crypto efforts globally.”

       191.    On March 7, 2022, Prieur signed a Transition Letter stating that his employment

with Citadel Securities would continue through March 18, 2022.

       192.    On March 18, 2022, Prieur signed a Cessation of Employment Agreement &

General Release. In that agreement, Citadel Securities provided formal notice that it had elected

a Restricted Period of fifteen months as provided for and defined in Prieur’s non-compete

agreement, which would run until June 19, 2023. The Agreement stated that Prieur would receive

monthly Restricted Period payments as defined in the non-compete agreement, so long as he

complied with the terms of the non-compete agreement.

       193.    On September 9, 2022, Prieur informed Citadel Securities that he had joined

Portofino during his Restricted Period. On information and belief, Portofino knowingly induced

Prieur to join Portofino before his Restricted Period expired in June 2023.

       194.    By inducing Prieur to leave Citadel Securities for Portofino, not only did Portofino

tortiously interfere with Citadel Securities’ employment agreement with Prieur, but it also

misappropriated Citadel Securities’ Trade Secrets and other confidential information relating to its


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Business Plans and Strategies for high-frequency crypto trading, which Prieur himself

had developed.

               C. Portofino’s Recruitment of Other Employees Caused Citadel Securities to
                  Pay Substantial Retention Compensation

       195.    In addition to losing valuable talent like Moustapha and Prieur, Citadel Securities

has been forced to pay substantial amounts responding to Portofino’s active recruitment of Citadel

Securities employees and its push for them to breach their employment agreements with

Citadel Securities.

       196.    For example, in March 2022, while still in his mandatory non-solicitation period,

Casimo met with Employee 1, a key member of Citadel Securities’ Advanced Technology Team—

the group that facilitates high-frequency trading—and a Citadel Securities employee since 2011,

to try to recruit him as Portofino’s Chief Technology Officer.

       197.    Employee 1 soon received a formal job offer from Portofino. That offer included

a range of documents, such as non-competes and non-solicitation agreements. Among those

documents was a letter detailing the extraordinary efforts Portofino would go to in order to cover

Employee 1’s legal expenses should Citadel Securities challenge his employment by Portofino.

       198.    Portofino met with Employee 1 again on May 5, 2022. During that discussion,

Portofino told Employee 1 that his non-compete with Citadel Securities would not apply if he came

to work for Portofino. This, of course, was a lie. Portofino also offered Employee 1 his own

portfolio and margin to manage.

       199.    In light of these recruitment efforts, Citadel Securities was forced to make

Employee 1 a counteroffer that included substantially increased compensation in order to keep him

at Citadel Securities.




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       200.      As another example, on December 20, 2021, while he was still subject to his non-

compete and non-solicitation agreements with Citadel Securities, Moustapha met with Employee

2, yet another senior member of Citadel Securities’ Advanced Technology Team, and asked if he

would be interested in a role at Portofino. Moustapha told Employee 2 in writing that Portofino

would cover the cost of a lawyer should Citadel Securities “go after you” for leaving to work

for Portofino.

       201.      A few weeks later, on February 10, 2022, Portofino sent employment documents to

Employee 2, noting that they “may look familiar” since they were based on Citadel Securities’

templates. The next day, Portofino told Employee 2 that his non-compete with Citadel Securities

would not apply if he came to work for Portofino. Portofino later emphasized again that Employee

2 did not need to worry about Citadel Securities bringing claims against him. Portofino even sent

Employee 2 an Indemnity Letter on March 13, 2022.

       202.      On April 27, 2022, Employee 2 resigned from Citadel Securities to work

for Portofino.

       203.      Once again, Citadel Securities was put in the position of having to convince

Employee 2 to stay by agreeing to pay him additional compensation.

                 D. Portofino Has Solicited Over a Dozen Other Citadel Securities Employees

       204.      In addition to Moustapha, Prieur, Employee 1, and Employee 2, Portofino has

solicited over a dozen other Citadel Securities employees from a variety of roles, including Citadel

Securities’ Head of Crypto Trading, Citadel Securities’ Director of Systematic Options Trading, a

member of the team that developed Citadel Securities’ crypto trading operations, an options trader,

and a software engineer.




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       205.    A consistent feature among all of the Citadel Securities employees whom Portofino

has solicited is their common knowledge of Citadel Securities’ Trade Secrets and other

confidential information and, in many instances, its crypto-related Business Plans and Strategies.

               E. Citadel Securities Has Been Damaged by Portofino’s Recruitment Efforts

       206.    Portofino’s wrongful inducement of Prieur and Moustapha to breach their

employment agreements with Citadel Securities damaged Citadel Securities by depriving the

company of Prieur’s and Moustapha’s expertise and the benefits of its investment in

their development.

       207.    Citadel Securities also suffered millions of dollars in monetary damages as a direct

result of Portofino’s other recruiting efforts, including because it was forced to pay additional

compensation to retain employees who Portofino attempted to hire.

       208.    Moreover, in addition to its founders’ use of Citadel Securities’ Trade Secrets and

other confidential information obtained from their time working at Citadel Securities, on

information and belief, Portofino is actively exploiting and planning to exploit Citadel Securities’

Trade Secrets and other confidential information obtained from other former Citadel Securities

employees, including Prieur and Moustapha. That is why Portofino is targeting Citadel Securities’

employees in its inducement efforts.

       209.    At the time of his resignation, Prieur was the “aggregator of all things crypto in the

US” for Citadel Securities, and therefore was intimately familiar with how Citadel Securities’

Trade Secrets and other confidential information can be applied to a high-frequency crypto trading

business. On information and belief, Portofino has used and will continue to use Prieur’s personal

knowledge of Citadel Securities’ Trade Secrets and other confidential information to develop its

own market making products. That is precisely why Portofino took the risk of tortiously interfering

with Prieur’s employment agreement and hired him.


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       210.    The same goes for Moustapha. As a Citadel Securities Quantitative Trader working

in systematic equities trading and then systematic options trading, Moustapha was familiar with

Citadel Securities’ Trade Secrets and other confidential information, and can use his knowledge

of those Trade Secrets and confidential information to help Portofino build its business, including

through his direct exposure to the source code used for Citadel Securities’ Research Methodology

and Trading Strategies.

IV.    PORTOFINO’S CONDUCT VIOLATES NEW YORK’S UNFAIR
       COMPETITION LAW

       211.    Citadel Securities has invested substantial resources and time into developing its

Trade Secrets and other confidential information, which are the source of its competitive advantage

in developing and deploying high-frequency trading using algorithmic, systematic, and automated

Trading Strategies across a wide range of assets.

       212.    While employed by Citadel Securities, Portofino’s founders secretly developed

Portofino. During that time, Portofino’s founders had unfettered access to Citadel Securities’

Trade Secrets and other confidential information which are carefully guarded to protect their

confidentiality and cannot be easily replicated. Portofino also knows about Citadel Securities’

crypto-related Business Plans and Strategies.

       213.    Citadel Securities went to great lengths to ensure the secrecy of its Trade Secrets

and other confidential information, as described above.

       214.    Still, on information and belief, Portofino used Citadel Securities’ Trade Secrets

and other confidential information in building its business, as described above.

       215.    Because of this, Portofino has unfairly received the benefits of the short-cuts and

accelerated timeline this misappropriation provided, as well as the ability to raise tens of millions

of dollars from investors and recruit skilled employees.



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       216.      Through the course of conduct detailed in the preceding paragraphs, Portofino has

engaged in unfair competition by, among other things: unlawfully misappropriating and using, on

information and belief, Citadel Securities’ Trade Secrets and other confidential information from

New York and elsewhere; its founders making deliberate misrepresentations to Citadel Securities

as a means to avoid detection of Portofino’s competing business; trading on Citadel Securities’

reputation as a market maker to gain legitimacy with clients based in New York and elsewhere

and raise financing from investors in New York and elsewhere; and tortiously interfering with

Citadel Securities’ employment contracts.

       217.      Portofino was able to build its business in reliance on Citadel Securities’ Trade

Secrets, know-how, expenditures, and reputation. Portofino then used these competitive

advantages that it stole from Citadel Securities to solicit investors and poach additional Citadel

Securities’ employees, resulting in Portofino’s accelerated entrance into the very market in which

Citadel Securities operates.

 V.    THE INVESTOR DEFENDANTS AIDED AND ABETTED PORTOFINO’S
       MISCONDUCT

       218.      Defendant Canzoneri, a self-proclaimed “business angel,” and the Doe Investor

Defendants funded Portofino’s theft of Citadel Securities’ Trade Secrets and other confidential

information, on information and belief, knowing that at the time of their investments in 2020 or

2021, Portofino’s founders were still employed by Citadel Securities or in their respective

Restricted Periods and, because of the nature of their jobs, had unfettered access to its Trade

Secrets and other confidential information, as well as obligations to safeguard and not steal

those secrets.

       219.      On information and belief, Portofino would not have obtained Citadel Securities’

Trade Secrets and other confidential information absent early assistance from the Investor



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Defendants as seed investors. Canzoneri invested in Portofino at least two months before its

founders resigned from Citadel Securities and, on information and belief, the Doe Investor

Defendants invested before or in the months immediately following the founders’

resignations. The seed funding that Portofino received while its founders were still employed at

Citadel Securities or in their Restricted Periods enabled Portofino’s development, including, on

information and belief, its misappropriation of Citadel Securities’ Trade Secrets and other

confidential information.

        220.     But for the Investor Defendants’ financial backing, Portofino would not have been

developed when it was or as quickly as it was, and, critically, while its founders still had broad

access to Citadel Securities’ Trade Secrets and other confidential information.

        221.     With funding from the Investor Defendants, Portofino’s founders were able to

develop Portofino while doing for Citadel Securities precisely what Portofino, under their

leadership, would eventually be doing: using Citadel Securities’ Trade Secrets and confidential

information to build and operate a new high-frequency trading business. The fact that Portofino

so benefitted from the Investor Defendants’ early investments only underscores the asset-neutrality

and commercial value of Citadel Securities’ Trade Secrets and other confidential information.

                                      CAUSES OF ACTION

               Count 1: Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836
                                (Against the Portofino Defendants)

        222.     Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        223.     Citadel Securities owns and possesses certain Trade Secrets and other confidential

information, as alleged above. This includes (1) Citadel Securities’ confidential and proprietary

Research Methodology; (2) the bespoke set of trading techniques and technologies, or confidential



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and proprietary Trading Strategies, developed by Citadel Securities (using its Research

Methodology) for trading in any asset that trades on electronic markets; (3) Citadel Securities’

confidential and proprietary Simulations, used for testing, validating, and refining its Trading

Strategies; and (4) Citadel Securities’ confidential and proprietary Business Plans and Strategies,

including for crypto.

       224.    None of these Trade Secrets are disclosed in any published Citadel Securities

patents or patent applications.

       225.    Citadel Securities’ Trade Secrets and other confidential information relate to

products and services, used, sold, shipped, or ordered in, or intended to be used, sold, shipped, or

ordered in, interstate or foreign commerce.

       226.    Citadel Securities’ Trade Secrets and other confidential information derive

independent economic value from not being generally known to, and not being readily

ascertainable through proper means by, another person who could obtain economic value from the

disclosure or use of the information.

       227.    Citadel Securities has taken significant and reasonable measures to keep such

information secret and confidential. Citadel Securities has at all times maintained stringent

security measures to preserve the secrecy of its Trade Secrets and other confidential information.

Those security measures include, among other things: (1) requiring all employees to have an

electronic access card; (2) restricting physical access to the office environment generally and to

certain areas of the office based on individual employees’ job functions; (3) strictly limiting visitor

access; (4) 24-hour monitoring of its premises using security cameras, security staff, and other

measures; (5) protecting computer access by stringent information security measures that include,

but are not limited to, password protection and two-factor authentication, as well as granting each

user only the level of access to Citadel Securities’ computer network that is absolutely necessary


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for them to perform their job functions; (6) limiting access to and knowledge of Citadel Securities’

confidential and proprietary Research Methodology and other Trade Secrets to senior business unit

leaders and other key employees responsible for developing and implementing the Trade Secrets;

(7) having and enforcing policies that require employees to maintain confidential information and

work product exclusively within Citadel Securities’ secure environment; and (8) providing regular

training to employees about their obligations to comply with confidentiality obligations and

information security measures.

       228.    Because of these security measures, Citadel Securities’ Trade Secrets and other

confidential information are not available for others in any industry to use through any

legitimate means.

       229.    In violation of Citadel Securities’ rights and federal law, Portofino misappropriated

and is using Citadel Securities’ Trade Secrets and other confidential information.

       230.    The former Citadel Securities employees who now work at Portofino, including

Portofino’s founders, possess highly confidential and technical knowledge concerning Citadel

Securities’ Trade Secrets and confidential information.

       231.    These former Citadel Securities employees’ jobs at Portofino are, on information

and belief, nearly identical to their former jobs at Citadel Securities, so that the former employees

could not reasonably be expected to fulfil the responsibilities of their new positions without

directly or indirectly using Citadel Securities’ Trade Secrets and confidential information. Given

that, on information and belief, Portofino built its business on the processes and methods created

by Citadel Securities, and is in direct competition with Citadel Securities, the Trade Secrets have

already been disclosed to Portofino.

       232.    In using Citadel Securities’ Trade Secrets and other confidential information to its

advantage, Portofino knew that the former employees owed duties to Citadel Securities to protect


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and not use or otherwise disclose the Trade Secrets and other confidential information. The former

employees’ disclosures of those Trade Secrets, on information and belief, constitute breaches of

those obligations.

       233.    Portofino’s misappropriation of Citadel Securities’ Trade Secrets and other

confidential information, on information and belief, was intentional, knowing, willful, malicious,

fraudulent, and oppressive.

       234.    As a result of Portofino’s misappropriation of Citadel Securities’ Trade Secrets and

other confidential information, Citadel Securities has suffered, and if Portofino’s conduct is not

stopped will continue to suffer, severe competitive harm, irreparable injury, and significant

damages, in an amount to be proven at trial.

       235.    Citadel Securities has been damaged by all of the foregoing misconduct committed

by Portofino and is entitled to an award of exemplary double damages and attorneys’ fees pursuant

to 18 U.S.C. § 1836(b)(3)(C)-(D).

       236.    Because Citadel Securities’ remedy at law is inadequate, Citadel Securities seeks—

in addition to damages—permanent injunctive relief to recover and protect its Trade Secrets and

other confidential information and to protect other legitimate business interests. Citadel Securities

is entitled to relief in the form of a permanent injunction requiring that Portofino:

           a. Cease and refrain from ever using Citadel Securities’ Trade Secrets and other

               confidential information in any way, including in the development and/or operation

               of any business or enterprise that replicates, is based on, derives from, or otherwise

               incorporates in any way Citadel Securities’ Trade Secrets and other confidential

               information;

           b. Return or destroy, as ordered by the Court, all copies of Citadel Securities’ Trade

               Secrets and other confidential information that are in the possession or control of


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                Portofino, its employees, agents, or assigns, including all documents, records,

                processes, algorithms, implementing code, models, simulations, business plans,

                and / or strategies that replicate, are based on, derive from, or otherwise incorporate

                in any way Citadel Securities’ Trade Secrets and other confidential information;

                and

            c. Identify all persons and entities to whom Citadel Securities’ Trade Secrets and other

                confidential information have been disclosed and direct such parties to refrain from

                ever using or disclosing Citadel Securities’ Trade Secrets and other confidential

                information in any manner.

          Count 2: Misappropriation of Trade Secrets and Confidential Information
                           (Against the Portofino Defendants)

        237.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        238.    Citadel Securities owns and possesses certain Trade Secrets and other confidential

information, as alleged above. This includes (1) Citadel Securities’ confidential and proprietary

Research Methodology; (2) the bespoke set of trading techniques and technologies, or confidential

and proprietary Trading Strategies, developed by Citadel Securities (using its Research

Methodology) for trading in any asset that trades on electronic markets; (3) Citadel Securities’

confidential and proprietary Simulations, used for testing, validating, and refining its Trading

Strategies; and (4) Citadel Securities’ confidential and proprietary Business Plans and Strategies,

including for crypto.

        239.    None of these Trade Secrets are disclosed in any published Citadel Securities

patents or patent applications.




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       240.    Citadel Securities’ Trade Secrets and other confidential information derive

independent economic value from not being generally known to, and not being readily

ascertainable through proper means by, another person who could obtain economic value from the

disclosure or use of the information.

       241.    Citadel Securities has taken significant and reasonable measures to keep such

information secret and confidential. Citadel Securities has at all times maintained stringent

security measures to preserve the secrecy of its Trade Secrets and other confidential information.

Those security measures include, among other things: (1) requiring all employees to have an

electronic access card; (2) restricting physical access to the office environment generally and to

certain areas of the office based on individual employees’ job functions; (3) strictly limiting visitor

access; (4) 24-hour monitoring of its premises using security cameras, security staff, and other

measures; (5) protecting computer access by stringent information security measures that include,

but are not limited to, password protection and two-factor authentication, as well as granting each

user only the level of access to Citadel Securities’ computer network that is absolutely necessary

for them to perform their job functions; (6) limiting access to and knowledge of Citadel Securities’

confidential and proprietary Research Methodology and other Trade Secrets to senior business unit

leaders and other key employees responsible for developing and implementing the Trade Secrets;

(7) having and enforcing policies that require employees to maintain confidential information and

work product exclusively within Citadel Securities’ secure environment; and (8) providing regular

training to employees about their obligations to comply with confidentiality obligations and

information security measures.

       242.    Because of these security measures, Citadel Securities’ Trade Secrets and other

confidential information are not available for others in any industry to use through any

legitimate means.


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       243.    In violation of Citadel Securities’ rights at common law, Portofino misappropriated

and is using Citadel Securities’ Trade Secrets and other confidential information.

       244.    The former Citadel Securities employees who now work at Portofino, including

Portofino’s founders, possess highly confidential and technical knowledge concerning Citadel

Securities’ Trade Secrets and confidential information.

       245.    These former Citadel Securities employees’ jobs at Portofino are, on information

and belief, nearly identical to their former jobs at Citadel Securities, so that the former employees

could not reasonably be expected to fulfil the responsibilities of their new positions without

directly or indirectly using Citadel Securities’ Trade Secrets and confidential information. Given

that, on information and belief, Portofino built its business on the processes and methods created

by Citadel Securities, and is in direct competition with Citadel Securities, the Trade Secrets have

already been disclosed to Portofino.

       246.    In using Citadel Securities’ Trade Secrets and other confidential information to its

advantage, Portofino knew that the former employees owed duties to Citadel Securities to protect

and not use or otherwise disclose the Trade Secrets and other confidential information. The former

employees’ disclosures of those Trade Secrets, on information and belief, constitute breaches of

those obligations.

       247.    Portofino’s misappropriation of Citadel Securities’ Trade Secrets and other

confidential information, on information and belief, was intentional, knowing, willful, malicious,

fraudulent, and oppressive.

       248.    As a result of Portofino’s misappropriation of Citadel Securities’ Trade Secrets and

other confidential information, Citadel Securities has suffered, and if Portofino’s conduct is not

stopped will continue to suffer, severe competitive harm, irreparable injury, and significant

damages, in an amount to be proven at trial.


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        249.    Because Citadel Securities’ remedy at law is inadequate, Citadel Securities seeks—

in addition to damages—permanent injunctive relief to recover and protect its Trade Secrets and

other confidential information and to protect other legitimate business interests. Citadel Securities

is entitled to relief in the form of a permanent injunction as set forth above in Paragraph 236.

                 Count 3: Tortious Interference with Contractual Relationships
                              (Against the Portofino Defendants)

        250.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        251.    Citadel Securities and its employees executed employment contracts, and those

employees were subject to such contracts when contacted by Portofino.

        252.    Portofino had knowledge of Citadel Securities’ employment contracts and the

responsibilities contained therein. Indeed, many of its agents identified above—Lancia, Casimo,

and Moustapha—were previously subject to the very same contracts Portofino interfered with and

even acknowledged those contractual obligations while engaging in a concerted scheme to induce

Citadel Securities’ employees to breach their employment contracts in order to work for Portofino.

        253.    Portofino intentionally sought the breach of such contracts on numerous occasions,

as alleged above. And Portofino successfully induced the breach of contracts between Citadel

Securities and Taym Moustapha, as well as between Citadel Securities and Vincent Prieur.

Portofino’s inducement of Moustapha’s and Prieur’s breach of their employment contracts harmed

Citadel Securities by opening up its Trade Secrets and other confidential information to a

competitor, by depriving Citadel Securities of the expertise of Moustapha and Prieur, and by

cheating Citadel Securities’ out of its investment in Moustapha’s and Prieur’s development.




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        254.    Portofino’s tortious efforts to induce other employees to breach their employment

contracts also forced Citadel Securities to pay millions of dollars in additional

retention compensation.

        255.    Portofino     solicited   the   above-identified   breaches   of   contract   without

permissible justifications.

        256.    As a result of Portofino’s conduct, Citadel Securities sustained significant damages

in an amount to be proven at trial.

                                    Count 4: Unfair Competition
                                  (Against the Portofino Defendants)

        257.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        258.    Citadel Securities owns and possesses certain Trade Secrets and other confidential

information, as alleged above.

        259.    Citadel Securities’ Trade Secrets and other confidential information derive

independent economic value from not being generally known to, and not being readily

ascertainable through proper means by, another person who could obtain economic value from the

disclosure or use of the information.

        260.    Citadel Securities has taken reasonable measures to keep such information secret

and confidential, as alleged above.

        261.    On information and belief, Portofino improperly accessed and misappropriated

Citadel Securities’ Trade Secrets and other confidential information from New York and elsewhere

in bad faith, as alleged above.




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        262.    Portofino’s actions set forth above, including but not limited to the unauthorized

misappropriation and use of Citadel Securities’ Trade Secrets and other confidential information,

constitutes unfair competition with Citadel Securities in New York and elsewhere.

        263.    Portofino has unfairly received the benefit of this exploitation and appropriation to

compete directly with Citadel Securities without expending the substantial time, as well as

financial and other resources, that Citadel Securities put into developing these Trade Secrets and

confidential information in New York and elsewhere.

        264.    Portofino’s acts of unfair competition, as described above, have damaged and will

continue to cause irreparable harm to the business and goodwill of Citadel Securities unless

restrained by this Court.

        265.    Portofino’s acts of unfair competition have caused harm and loss to Citadel

Securities, thereby entitling Citadel Securities to the recovery of damages.

      Count 5: Aiding & Abetting Misappropriation of Trade Secrets and Confidential
                                      Information
                           (Against the Investor Defendants)

        266.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        267.    The Investor Defendants funded Portofino’s theft of Citadel Securities’ Trade

Secrets and other confidential information from New York and elsewhere, on information and

belief, knowing that at the time of their investment, Portofino’s founders were still employed by

Citadel Securities or in their respective Restricted Periods and because of the nature of their job

functions, had unfettered access to Citadel Securities’ Trade Secrets and confidential information,

as well as obligations to safeguard and not steal those secrets.

        268.    On information and belief, Portofino’s founders would not have violated their

obligations to Citadel Securities absent the Investor Defendants’ early assistance as seed investors.


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The seed funding that Portofino received while its founders were still employed at Citadel

Securities or in their respective Restricted Periods enabled Portofino’s misappropriation, on

information and belief, of Citadel Securities’ Trade Secrets and confidential information.

        269.    The Investor Defendants’ knowing participation in Portofino’s development while

Portofino’s founders were still employed by Citadel Securities or in their respective Restricted

Periods has caused harm and loss to Citadel Securities, from which the Investor Defendants have,

on information and belief, reaped financial benefit and for which Citadel Securities is entitled to

damages.

        270.    Based on its investigative efforts to date, Citadel Securities has been able to identify

Defendant Canzoneri as one of the Investor Defendants who aided and abetted Portofino’s

misconduct. Citadel Securities expects to learn, through discovery obtained from Portofino and

others, the identities of the Doe Investor Defendants, which information will allow Citadel

Securities to amend this Complaint to name the Doe Investor Defendants.

                                  Count 6: Unjust Enrichment
                                (Against the Portofino Defendants)

        271.    Plaintiffs incorporate by reference all preceding paragraphs and re-allege them as

if set forth fully herein.

        272.    Plaintiffs and Portofino do not have a contractual relationship.

        273.    Portofino has wrongfully obtained benefits, at the expense of the rightful owner of

all aspects of Portofino’s business, Citadel Securities.

        274.    Through deceitful measures, Portofino has obtained immense financial support for

a business created by two Citadel Securities employees during their employment with Citadel

Securities. Those same employees operated Portofino’s business in “stealth” mode, including




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solicitation of dozens of Citadel Securities employees, meetings with investors, and further

development of Portofino’s high-frequency trading platform.

         275.   Portofino’s success comes on the shoulders of Citadel Securities’ operations,

employees, Trade Secrets, and work product located in New York and elsewhere, as discussed

above.

         276.   In these circumstances, it would be unjust for Portofino to retain the proceeds of its

wrongdoing.

                                     PRAYER FOR RELIEF

         277.   WHEREFORE, Plaintiffs pray that this Court enter a final judgment awarding legal

and equitable relief as follows:

         A.     Judgment in Citadel Securities’ favor and against Portofino and the Investor
                Defendants on all causes of action alleged here;
         B.     Monetary damages in an amount to be determined at trial;
         C.     Exemplary and punitive damages;
         D.     Restitution;
         E.     Permanent injunctive relief prohibiting Portofino from using Citadel Securities’
                Trade Secrets and other confidential information in any way and granting such
                other relief as set forth above;
         F.     Pre-judgment and post-judgment interest;
         G.     Attorney’s fees and costs; and
         H.     Such other and further relief as this Court may deem just and proper.




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Dated: New York, New York               Respectfully submitted,
        July 21, 2023



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